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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                 Plaintiff,             Case No. MJ18-296

10          v.                                            DETENTION ORDER

11 MINYU YAO ,

12                                 Defendant.

13          The Court conducted a detention hearing under 18 U.S.C. § 3142(f), and based upon the

14 findings and reasons below finds there are no conditions or combination of conditions defendant

15 can meet which will reasonably assure defendant’s appearance and the safety of other persons

16 and the community.

17         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

18          (1)      Defendant is wanted in another federal district. He allegedly absconded

19 supervision. Defendant stipulated to detention.

20          It is therefore ORDERED:

21          (1)      Defendant shall be detained pending trial and committed to the custody of the

22 Attorney General for confinement in a correctional facility separate, to the extent practicable,

23 from persons awaiting or serving sentences, or being held in custody pending appeal;



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 1          (2)      Defendant shall be afforded reasonable opportunity for private consultation with

 2 counsel;

 3          (3)      On order of a court of the United States or on request of an attorney for the

 4 Government, the person in charge of the correctional facility in which Defendant is confined

 5 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

 6 connection with a court proceeding; and

 7          (4)      The Clerk shall direct copies of this order to counsel for the United States, to

 8 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

 9 Officer.

10          DATED this 20th day of June, 2018.

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12                                                          A
                                                            BRIAN A. TSUCHIDA
13                                                          United States Magistrate Judge

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